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JOHN SAgIN, Pro Se OF oss i
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O.L. Luther Unit(P2) Ba *
1800 Luther Dr. FB oy
Navasota; TX 77868-4714 Sts
September 30 a 2019
Clerk of Courts © or Clerk of Courts
515 Rusk Street P.O. Box 61010
Houston, TX 77002 Houston, TX 77208

Re: Civil Action No.4:18-cv-04412

Style: Plaintiffs'. Motion

Dear Clerk,

Please find included and file the below:

Plaintiff’ SUPPLEMENTAL MOTION REQUESTING LEAVE OF COURT
TO PROCEED IN FORMA PAUPERIS

Please bring  thése” filings. to the attention of the Court for a hearing and
rulings. .

Thank you for your assistance filing and’ initiating’ this. Motion.

For questions and immediate assistance filing, please phone Tim Sain@(817)
307-9087 or @T.Sain@yahoo.com

I can be <contacated at the address listed above.

Respectfully,
en

JOHN SAIN, Pro Se
